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                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

In Re:                               )   Case No. 19-45962-659
                                     )
Christopher & Brittney               )
Robotham,                            )   Chapter 13
                                     )
      Debtors-Movants,               )   Debtors’ Motion to Retain
                                     )   Settlement Funds
vs.                                  )
                                     )
DIANA S. DAUGHERTY.,                 )   Motion #_________
               Respondent.           )

  DEBTORS’ MOTION TO APPROVE SETTLEMENT AND TO RETAIN SETTLEMENT
                               FUNDS

     PLEASE TAKE NOTICE: ANY RESPONSIVE PLEADING IN OPPOSITION
MOTION/PLEADING MUST BE FILED IN WRITING NO LATER THAN TWENTY-
ONE (21) DAYS FROM THE DATE OF SERVICE OF THIS MOTION/PLEADING
AS SHOWN ON THE CERTIFICATE OF SERVICE. (SEE L.B.R. 9013-1B.,
9061-1 B.) THE RESPONSE MUST BE IMMEDIATELY SERVED UPON THE
UNDERSIGNED AND UPON ALL ENTITIES DESCRIBED IN L.B.R. 9013-1 A.
THE COURT MAY GRANT THE MOTION UPON EXPIRATION OF THE RESPONSE
PERIOD IF NO RESPONSE IS FILED.

     IF A RESPONSE IS FILED, THE MOVANT, APPLICANT OR CLAIM
OBJECTOR SHALL SET THE MATTER FOR HEARING AND PROVIDE NOTICE
THEREOF TO THE RESPONDENT AND ALL ENTITIES DESCRIBED IN L.B.R.
9013-1 A.

      Comes now Debtors, Chistopher and Brittney Robotham, by and

through their attorney, pursuant to Local Rule 9013-1, and move

this Honorable Court to approve the settlement of the Debtor’s
Fair Debt Collection Practices Act Claim, and to allow Debtors

to retain settlement funds,           and as grounds for said motion,

state as follows:

      1.   That this Court has jurisdiction under the provisions
of 28 U.S.C. sections 1334, 151, 157(a).
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      2.     That by virtue of 28 U.S.C. section 157(b)(2)(E) this

is a core proceeding.

      3.     Debtors filed this Chapter 13 case with the Court on

September 24, 2019.

      4.      Debtors’ plan was ordered confirmed on February 20,

2020.
      5.     On February 21, 2020, Debtor Chris Robotham filed a

lawsuit for alleged violations of the Fair Debt Collection

Practices Act allegedly occurring on or about October 31, 2019,

in the case Chris Robotham v. Recovery Management Solutions,

LLC, Saint Louis County Circuit Court, Associate Division case

number 20SL-AC05838.

        6.   Debtor was represented by the undersigned law firm,

Pontello & Bressler, LLC in the aforementioned claim.

      7.      Debtor has reached a settlement agreement with the

alleged tortfeasor, in the amount of $3,500.00.

      8.      Pursuant to the retainer agreement between Debtor and

Pontello & Bressler, LLC, Debtor is to receive the first

thousand dollars, which is the maximum amount of statutory

damages available under the FDCPA § 1692(k), minus the costs of

the case, with the remaining settlement balance to go to

attorney’s fees.

        9.    Pontello & Bressler, LLC expended a total of $55.25 in

costs in bringing the claim, comprised of court filing costs.
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      10.   Thus, under the terms of the retainer agreement

between Debtor and Pontello & Bressler, LLC, Debtor is to

receive settlement proceeds in the amount of $944.75.

      11.   Pontello & Bressler, LLC is in possession of the

settlement funds, in the amount of $3,500.00, held in trust.

      12.   The Debtors desire to keep the $944.75 of settlement

proceeds to help pay for necessary home repairs. (See attached

statement).

      13.   Approving the settlement agreement and allowing

Debtors to retain settlement funds will not be to the detriment

of any of the Debtors’ Chapter 13 creditors.

      WHEREFORE, Debtors pray this Court enter an Order granting

Debtors’ Motion to Approve Settlement and to Retain Settlement

Funds, and for such other relief as the Court deems necessary

and proper.


                         RESPECTFULLY SUBMITTED,

                         PONTELLO & BRESSLER, LLC

                         __/s/Dominic Pontello_________
                         Dominic M. Pontello, 60947MO
                         406 Boones Lick Rd.
                         St. Charles, MO 63301
                         (636)896-4170
                         (636)246-0141 Fax
                         dominic@pontellolaw.com
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                           CERTIFICATE OF SERVICE

      The undersigned certifies that a true copy of Debtors’

Motion to Approve Settlement and to Retain Settlement Funds was

mailed to all partied who have NOT BEEN ELECTRONICALLY NOTIFIED,

including the Debtors, this 6th Day of August, 2020.



                                                  /s/ Dominic Pontello




Mrs. Diana S. Daugherty. (via ecf only)
Chapter 13 Trustee
P.O. Box 430908
St. Louis, Missouri 63143

Christopher and Brittney Robotham
33 E. Cardigan Dr
St. Louis, MO 63135

All creditors on the attached matrix.




                                     /s/ Dominic Pontello
                                     Dominic Pontello
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                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

In Re:                               )   Case No. 19-452962-659
                                     )
Christopher & Brittney               )
Robotham,                            )   Chapter 13
                                     )
      Debtors-Movants,               )   Debtors’ Motion to Approve
                                     )   Settlement and Retain
                                     )   Settlement Funds
vs.                                  )
                                     )
DIANA S. DAUGHERTY.,                 )   Motion #_________
               Respondent.           )

                               EXHIBIT SUMMARY

Pursuant to L.R. 9040-1, the following exhibits are referenced
in support of Debtors’ Motion to Approve Settlement and Retain
Settlement Funds. Copies of these exhibits will be provided as
required by Local Rules:

           1.    Work Estimate from St. Louis Roofing & Exteriors
                 in the amount of $1,775.00 for the repair of a
                 patio roof and sagging decking.


                               RESPECTFULLY SUBMITTED,

                               __/s/Dominic Pontello_________
                               Dominic M. Pontello, 60947MO
                               406 Boones Lick Rd.
                               St. Charles, MO 63301
                               (636)896-4170
                               (636) 246-0141 Fax
                               dominic@pontellolaw.com
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Account Resolution Cor                             Fed Loan Serv
700 Goddard Ave                                    Po Box 60610
Chesterfield, MO 63005                             Harrisburg, PA 17106


Americollect Inc                                   Fedloan
Po Box 1566                                        Po Box 60610
Manitowoc, WI 54221                                Harrisburg, PA 17106


Amex                                               I.C. System, Inc
Po Box 297871                                      Po Box 64378
Fort Lauderdale, FL 33329                          Saint Paul, MN 55164


Ar Resources Inc                                   Illinois Department of Revenue
1777 Sentry Pkwy W                                 101 W Jefferson St
Blue Bell, PA 19422                                Springfield, IL 62702


Arsenal Credit Union                               Internal Revenue Service
3780 Vogel Rd                                      P.O. Box 7346
Arnold, MO 63010                                   Philadelphia, PA 19101-7346


Capital One Bank Usa N                             Jpmcb Card
15000 Capital One Dr                               Po Box 15298
Richmond, VA 23238                                 Wilmington, DE 19850


Commerce Bk                                        Kay Jewelers
Po Box 411036                                      PO Box 740425
Kansas City, MO 64141                              Cincinnati, OH 45274


Consumer Adjustment Company                        Kay Jewelers
12855 Tesson Ferry Rd                              375 Ghent Rd
Saint Louis, MO 63128                              Fairlawn, OH 44333


Convergent Outsourcing                             Kay Jewelers/Genesis
800 Sw 39th St                                     15220 Nw Greenbrier, Ste
Renton, WA 98057                                   Beaverton, OR 97006


Direct TV                                          Macys/Dsnb
PO Box 105503                                      Po Box 8218
Atlanta, GA 30348                                  Mason, OH 45040


Discover Fin Svcs Llc                              Mca Mgmnt Co
Po Box 15316                                       2797 High Ridge Bl
Wilmington, DE 19850                               High Ridge, MO 63049


Enhanced Recovery Co L                             Medical Payment Data
8014 Bayberry Rd                                   PO Box 94498
Jacksonville, FL 32256                             Las Vegas, NV 89193-4498
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Miller & Steeno, PC                                     Vantage Credit Union
11970 Borman Dr                                         4020 Fee Fee Rd
Saint Louis, MO 63146                                   Bridgeton, MO 63044


Missouri Department of Revenue                          Verizon Wireless
301 W High St                                           Po Box 650051
Jefferson City, MO 65101                                Dallas, TX 75265


Missouri Department of Revenue/Bankruptcy Uni           Wakefield & Associates
P.O. Box 475                                            7005 Middlebrook Pike
301 W. High Street                                      Knoxville, TN 37909
Jefferson City, MO 65105-0475


Mohela/Sofi
633 Spirit Dr
Chesterfield, MO 63005


Oneadvantage
7650 Magna Drive
Belleville, IL 62223


PayPal Credit
2211 North First Street
San Jose, CA 95131


Quicken Loans
1056 Woodward Ave
Detroit, MI 48226


Royal Furn
Po Box 3784
Memphis, TN 38103


U S Dept Of Ed/Gsl/Atl
Po Box 4222
Iowa City, IA 52244


US Attorney - Eastern District of Missouri
Thomas Eagleton U.S. Courthouse
111 S. 10th Street, 20th Floor
Saint Louis, MO 63102


Us Dep Ed
Po Box 5609
Greenville, TX 75403


Us Dept Ed
Po Box 7202
Utica, NY 13504-7202
